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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                        NORTHERN DIVISION

AMY ANN BARRETT                                                  PLAINTIFF

V.                       NO. 3:20CV00006 JM-PSH

ANDREW SAUL, COMMISSIONER OF
SOCIAL SECURITY ADMINISTRATION                                  DEFENDANT

                                  JUDGMENT

      Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that this case is DISMISSED with prejudice.

Judgment is entered in favor of the Defendant.

      DATED this 9th day of November, 2020.



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                                      UNITED STATES DISTRICT JUDGE
